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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

 WILMINGTON SAVINGS FUND            )
 SOCIETY, FSB, d/b/a CHRISTIANA     )
 TRUST, NOT INDIVIDUALLY BUT        )
 AS TRUSTEE FOR PRETIUM             )
 MORTGAGE ACQUISITION TRUST,        )
                                    )
               Plaintiff,           )
                                    )
 v.                                 )      Docket No. 2:21-cv-00190-NT
                                    )
 BENJAMIN P. CAMPO, JR., ESQ.,      )
 AS SPECIAL ADMINISTRATOR           )
 OF THE ESTATE OF SONYA J.          )
 MANCHESTER,                        )      RE: 18 History Lane
                                    )          Hollis, ME 04093
               Defendant,           )
                                    )      Mortgage: November 24, 1999
 DISCOVER BANK,                     )      York County Registry of Deeds
 GREAT SENECA FINANCIAL CORP., )           Book 9797, Page 146
 DISCOVER FINANCIAL                 )
 SERVICES LLC,                      )
                                    )
               Parties-in-Interest. )


           CONSENT JUDGMENT OF FORECLOSURE AND SALE

      Now comes the Plaintiff, Wilmington Savings Fund Society, FSB, d/b/a

Christiana Trust, not individually but as trustee for Pretium Mortgage Acquisition

Trust, and the Defendant, Benjamin P. Campo, Jr., Esq., as Special Administrator of

the Estate of Sonya J. Manchester, and hereby submit this Consent Judgment of

Foreclosure and Sale.

     JUDGMENT on Count I – Foreclosure and Sale is hereby ENTERED as

follows:
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If the Defendant or his/her heirs or assigns pay Wilmington Savings Fund Society,

FSB, d/b/a Christiana Trust, not individually but as trustee for Pretium Mortgage

Acquisition Trust (“Wilmington Savings”) the amount adjudged due and owing

($182,116.96) within 90 days of the date of the Judgment, as that time period is

calculated in accordance with 14 M.R.S. § 6322, Wilmington Savings shall forthwith

discharge the Mortgage and file a dismissal of this action on the ECF Docket. The

following is a breakdown of the amount due and owing as of December 28, 2021:

               Description                                  Amount
              Principal Balance                            $95,978.99
              Interest                                     $46,533.84
              Late Fees                                       $889.11
              Escrow Advance                               $28,494.30
              Corporate Advance Balance                    $10,682.39
              Restricted Escrow                              -$461.67

              Grand Total                                 $182,116.96


      1.     If the Defendant or his/her heirs or assigns do not pay Wilmington

Savings the amount adjudged due and owing ($182,116.96) within 90 days of the

judgment, as that time period is calculated in accordance with 14 M.R.S. § 6322,

his/her remaining rights to possession of the Hollis Property shall terminate, and

Wilmington Savings shall conduct a public sale of the Hollis Property in accordance

with 14 M.R.S. § 6323, disbursing the proceeds first to itself in the amount of

$182,116.96 after deducting the expenses of the sale, with any surplus to be disbursed

pursuant to Paragraph 4 of this Judgment, and in accordance with 14 M.R.S. § 6324.

Wilmington Savings may not seek a deficiency judgment against the Defendant

pursuant to the Plaintiff's waiver of deficiency.



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      2.     Pursuant to 14 M.R.S. § 2401(3)(F), the Clerk, if requested, shall sign a

certification after the appeal period has expired, certifying that the applicable period

has expired without action or that the final judgment has been entered following

appeal.

      3.     The amount due and owing is $182,116.96.

      4.     The priority of interests is as follows:

             •   Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not
                 individually but as trustee for Pretium Mortgage Acquisition Trust
                 has first priority, in the amount of $182,116.96, pursuant to the
                 subject Note and Mortgage.

             •   Discover Bank has the second priority behind Wilmington Savings
                 pursuant to a Writ of Execution dated November 13, 2002, in the
                 amount of $2,181.96, and recorded in the York County Registry of
                 Deeds in Book 12333, Page 61.

             •   Great Seneca Financial Corp. has the third priority behind
                 Wilmington Savings pursuant to a Writ of Execution dated April 20,
                 2005, in the amount of $4,498.95, and recorded in the York County
                 Registry of Deeds in Book 14508, Page 411.

             •   Discover Financial Services LLC has the fourth priority behind
                 Wilmington Savings pursuant to a Writ of Execution dated December
                 26, 2006, in the amount of $2,186.91, and recorded in the York
                 County Registry of Deeds in Book 15079, Page 880.

             •   Benjamin P. Campo, Jr., Esq., as Special Administrator of the Estate
                 of Sonya J. Manchester have the fifth priority behind Wilmington
                 Savings.

      5.     The prejudgment interest rate is 7.875%, see 14 M.R.S. § 1602-B(2) and

the Note, and the post-judgment interest rate is 2.11%, see 28 U.S.C. § 1961.

      6.     The following information is included in this Judgment pursuant to 14

M.R.S. § 2401(3):




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                      PARTIES                           COUNSEL
PLAINTIFF             Wilmington Savings Fund           John A. Doonan, Esq.
                      Society, FSB, d/b/a Christiana    Reneau J. Longoria, Esq.
                      Trust, not individually but as    Doonan, Graves &
                      trustee for Pretium Mortgage      Longoria, LLC
                      Acquisition Trust                 100 Cummings Center
                      c/o Pretium Mortgage Credit       Suite 303C
                      Management, 120 South Sixth       Beverly, MA 01915
                      Street, #2100
                      Minneapolis, MN 55402


DEFENDANT             Benjamin P. Campo, Jr., Esq.,     Pro Se
                      as Special Administrator of the
                      Estate of Sonya J. Manchester
                      90 Bridge Street-Suite 100,
                      Westbrook, ME 04092



PARTIES-IN-INTEREST Discover Bank                       c/o John C. Walker, P.A.
                                                        91 Auburn Avenue,
                                                        Unit J #1021
                                                        Portland, ME 04103

                      Discover Financial Services LLC   c/o Daggett & Parker
                                                        148 Middle Street #1
                                                        Portland, ME 04101

                      Great Seneca Financial Corp.      c/o John C. Walker, P.A.
                                                        91 Auburn Avenue,
                                                        Unit J #1021
                                                        Portland, ME 04103

            a.   The docket number of this case is No. 2:21-cv-00190-NT.

            b.   All parties to these proceedings received notice of the proceedings

                 in accordance with the applicable provisions of the Federal Rules

                 of Civil Procedure.

            c.   A description of the real estate involved, 18 History Lane, Hollis,

                 ME 04093, is set forth in Exhibit A to the Judgment herein.



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            d.     The street address of the real estate involved is 18 History Lane,

                   Hollis, ME 04093.    The Mortgage was executed by Sonya J.

                   Manchester on November 24, 1999. The book and page number

                   of the Mortgage in the York County Registry of Deeds is Book

                   9797, Page 146.

            e.     This judgment shall not create any personal liability on the part

                   of the Defendant but shall act solely as an in rem judgment

                   against the property, 18 History Lane, Hollis, ME 04093.




SO ORDERED.

                                             /s/ Nancy Torresen
                                             United States District Judge

Dated this 31st day of May, 2022.




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